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                                 123226



                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

__________________________________________
IN RE: COOK MEDICAL, INC., IVC FILTERS                         Case No. 1:14-ml-2570-RLY-TAB
MARKETING, SALES PRACTICES AND
PRODUCTS LIABILITY LITIGATION                                  MDL No. 2570
__________________________________________


This Document Relates to Plaintiff:
 Bridgette Mention

Civil Case #   1:21-cv-6574

                                NOTICE OF APPEARANCE

       To: The Clerk of the Court and all parties of record:

               I am admitted or otherwise authorized to practice in this Court, and I appear in
       this case as counsel for:

     Bridgette Mention, Plaintiff



Date: September 2, 2021

                                             Respectfully submitted,




                                                                   ____________
                                           Taylor W. Williams UT Bar No. 17348
                                            Driggs, Bills & Day, PC
                                            737 E. Winchester St. Salt
                                            Lake City, UT 84107

                                             Attorney for the Plaintiff
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                              CERTIFICATE OF SERVICE

             I hereby certify that on September 2, 2021, a copy of the foregoing
      was served electronically and notice of the service of this document will be
      sent to all parties by operation of the Court's electronic filing system to the
      CM/ECF participants registered to receive service in this matter. Parties may
      access the filing through the Court's system.



                                             /s/ Taylor W. Williams UT Bar No. 17348
